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UNITED STATES DISTRICT COURT
S()UTHERN DISTRICT OF FL()RIDA
Case No.
State Case No. COSO-15-004858

 

 

LASHINIA PAYNE
Plaintiff,
V.
MEDICREDIT, INC.
Defendant.
l
NOTICE OF REMOVAL

Defendant Medicredit, Inc. (“Medicredit”) timely files this Notice of Removal pursuant
to 28 U.S.C. §§ 1331, 1441, and 1446, removing this action from the County Couit of the
Seventeenth Judicial Circuit, in and for Broward County for the State of Florida, to the United
States District Court for the Southern District of Florida, Fort Lauderdale Division, and in
support of this Notice, states:

l. On August 16th, 2015, Plaintifi` Lashinia Payne (“Payne”) filed a Complaint
against Medicredit (the “Complaint”) in the County Court of the Seventeenth Judicial Circuit, in
and for Broward County for the State of Florida, Case No. COSO-15-004858 (the “State Court
Action”). The Complaint contains claims alleging a violation of the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”) and a violation of the Florida Consumer
Collection Practices Act, § 559.55, et seq. (the “FCCPA”).

2. Pursuant to 28 U.S.C. § l446(a), Medicredit attaches to this Notice a copy of all
pleadings, orders, and other papers or exhibits of every kind currently on file in the State Court

Action. §§ Exhibit A, attached.

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2. Payne served Medicredit With the summons in the State Court Action on
September 10th, 2015. Accordingly, Medicredit timely files this Notice within the 30-day limit
established by 28 U.S.C. § l446(b)(l). See, e.g., Mu_rphy Brothers, Inc. v. Michetti Pipe
Stringing, Inc., 526 U.S. 344, 355 (1999) (noting that the removal time frame is triggered by
receipt of formal service, not receipt of complaint).

3. The United States District Court for the Southern District of Florida has original
jurisdiction over this matter under 28 U.S.C. § 1331 because the claims alleging a violation of
the FDCPA implicate this Court’s federal question jurisdiction § Exhibit A, Complaint, at
M l, 8-11, 15, and 21. Further, the claims alleging a violation of the FCCPA trigger this Court’s
supplemental jurisdiction because Payne’s FCCPA claims form part of the same case or
controversy as Payne’s FDCPA claim. ld. at 1[1] l, 8-11, 15, 23, and 25-27.

4. Removal to the United States District Court for the Southern District of Florida is
proper under 28 U.S.C. § l44l(a), Which provides that any civil action brought in a County or
State Court where the District Courts of the United States have original jurisdiction is removable
to the district of the United States District Court embracing the place Where such action is
pending

5. Venue is proper in the Fort lauderdale Division of this Court because this action
is being removed from the Seventeenth Judicial Circuit, in and for Broward County, Florida and
the acts complained of in Plaintift‘s Complaint are alleged to have occurred in Broward County,
Florida. lc_l. at 1111 3, 9, 10 and 15.

6. In light of the foregoing, this Court has subject matter jurisdiction over this action

and this case is properly removed to this Court.

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6. Medicredit has filed a Notice of Filing Notice of Removal With the State Court
and, upon filing this Notice, shall promptly provide Written notice of its Notice of Removal to all
adverse parties in the State Court Action.

WHEREF()RE, Defendant Medicredit, Inc. gives notice that the above-entitled action is
removed and transferred from County Court in and for Broward County, State of Florida, to the
United States District Court for the Southern District of Florida.

Respectfully submitted,

SANCHEZ-MEDINA, GONZALEZ, QUESADA, LAGE,
CRESPO, GOMEZ, MACHADO & PREIRA LLP

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Manuel L. Crespo
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Gonzalo Barr
Florida Bar No. 0001790

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on October 9, 2015, I electronically filed the
foregoing document With the Clerk of Court using CM/ECF. I also certify that the foregoing
document is being served this day via transmission of Notice of Electronic Filing generated by
CM/ECF to: Jason Weaver, Esq., Jason Weaver, P.A., 2750 North 29th Avenue, Suite 120,

Hollywood, FL 33020 <jason@jasonweaverpa.com>.

/s/ Gonzalo Barr

Gonzalo Barr

Florida Bar No. 0001790

Sanchez-Medina, Gonzalez, Quesada, Gomez,
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